I cannot concur in the holding that a man may bring into the State liquor for others in quantity and divide it after he gets here. The statute (in part) is (29 Stats. 140):
"Section 1. Inlawful for Intoxicating Liquors to BeShipped Into the State — Unlawful to Receive Same, Except *Page 488 as Provided. — Be it enacted by the General Assembly of the State of South Carolina, That it shall be unlawful for any person, firm, corporation or company to ship, transport, or convey any intoxicating liquors from a point without the State into this State, or from one point to another in this State, for the purpose of delivery, or to deliver the same to any person, firm, corporation or company within this State, or for any person, firm, corporation or company to receive, or be in possession of, any spirituous, vinous, fermented or malt liquors or beverages containing more than one per cent. of alcohol, for his, her, its or their own use, or for the use of any other person, firm or corporation, except as hereinafter provided.
"Sec. 2. One Gallon a Month Allowed. — Any person may order and receive from any point without the State not exceeding one gallon within any calendar month, for his or her personal use, of spirituous, vinous, fermented or malted liquors or beverages."
It is declared to be unlawful to transport any intoxicating liquor for the purpose of delivery. The second section allows a person to order and receive from without the State not exceeding one gallon per month. It does not appear that there was anything connected with the liquor to indicate that there was any separation of the packages or anything to indicate to whom they belonged. If a person be allowed to bring into the State a quantity of liquor, and then divide it up among several, there is nothing to prevent a man from bringing in a carload and dividing it among any number of people. The facts of this case, I think, are clearly in violation of the first section, and I do not think the appellant has brought himself within the modification provided for in the second.
The ruling of the Circuit Judge was more favorable to appellant than he was entitled to, in my judgment. There is a reasonable distinction between a common carrier with records and a private person with no records. *Page 489 